Case 8:20-cr-00029-PX Document1 Filed 01/22/20 Page 1 of 3

\p TFH: USAO 2020R00049

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

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UNITED STATES OF AMERICA
v. CRIMINAL NO. V x ZO cr 00 25

ANTHONY MICHAEL MILEO,

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(Transportation of Child Pornography,
* 18 U.S.C. § 2252A(a)(1); Forfeiture,
Defendant a 18 U.S.C. § 2253, 21 U.S.C. § 853,
# 28 U.S.C. § 2461(c))

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INDICTMENT lc FILED ENTERED
————LOGGED _____ RECEIVED
COUNT ONE
(Transportation of Child Pornography) JAN § 2 2020
The Grand Jury for the District of Maryland charges that: CLERK US Bistaicr
e Grand Jury for the District of Maryland charges that: DISTRICT OF MagtggeT

BY

On or about May 28, 2019, in the District of Maryland and elsewhere, the defendant, ey
ANTHONY MICHAEL MILEO,
did knowingly transport any child pornography, as defined in 18 U.S.C. § 2256(8), using any

means and facility of interstate and foreign commerce and in and affecting interstate and foreign

commerce by any means, including by computer.

18 U.S.C. § 2252A(a)(1)
Case 8:20-cr-00029-PX Document1 Filed 01/22/20 Page 2 of 3

FORFEITURE ALLEGATION
The Grand Jury for the District of Maryland further finds that:
1. Pursuant to 18 U.S.C. § 2253, upon conviction of the offense set forth in this
Indictment, in violation of 18 U.S.C. § 2252A, the defendant,
ANTHONY MICHAEL MILEO,
shall forfeit to the United States of America:

a. Any visual depiction described in 18 U.S.C. § 2252A, or any book,
magazine, periodical, film, videotape, or other matter which contains any such visual depiction,
which was produced, transported, mailed, shipped, or received in violation of Title 18, United
States Code, Chapter 110;

b. Any property, real or personal, constituting or traceable to gross profits or
other proceeds obtained from the offense; and

e Any property, real or personal, used or intended to be used to commit or to

promote the commission of the offense.

2a If any of the property described above, as a result of any act or omission of the
defendant,
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
C. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
&. has been commingled with other property which cannot be divided
without difficulty,
Case 8:20-cr-00029-PX Document1 Filed 01/22/20 Page 3 of 3

the United States of America shall be entitled to forfeiture of substitute property pursuant to
21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 2253(b) and 28 U.S.C. § 2461(c), up to the

value of the forfeitable property described above.

18 U.S.C. § 2253
21 U.S.C. § 853(p)
28 U.S.C. 2461(c)

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Robert K. Hur
United States Attorney

A TRUE BILT.:

SIGNATURE REDACTED

Foreperson

Date: January 22, 2020

 
